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Exhibit T
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                                                      Norman R. Kufner
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                                                     DecembE~r 2::1, 2010



               Hardin Congregation of
               Jehovah's Witnesses
               c/o Tom Meyers, Secretary
               833 2nd 5t 5.             .
               Hardin, MT 5~034

               Dear Body of Elders:

               Greetings to those! of you who.-remember me and also to those newer ones who
               don't. Brother Gary Hulsey called nie l~st week and askecl me to send my
               recollection_s by_ letter of a sheph,=rding call made~ with Torn Meyers and myself on
               some yo·ung inactive sister;s when I was on the~ body of elders there between 1_995
               and 1998.

                   That was some time ago and since= tbe sisters were inactive and known on.ly by -
                  Tom, I don't remember their fi"rst names, i:>nly that th~Y- WE!re Jim Rowland's
                  daughters. I do not rememb1=r details nor do I have any written notes kept after I
                 ·1eft the cor_if1regation. I do remember cl<~arly,· however:, that they made vivid
                  accusations of ·se>:ual abuse by Martin Sv-enson against them. As I recall, these
                  abuses occurred in Martin's house. It is my distinct impression that these .
                  "experiences"· had been repressed until .shortly before the meeting.with lorn and
                  me. Their talking to each other th•=n clarifi•=cl the .."mernories." If I had not been
                  convinced that that the· memories had been repressed and then recently brought to
                  mind I would havE! insist<=d that a· committee be formed. I had no allegiance to
                                                                                                  "a{oihers.......... ·.-.· ·•"--.
                                                                    'i{pri5fe"cP,.':h,n1 fr•:lm tfi'e" re.preach
· ·· .... .... · "M'aitin-.wh"e'r'ebY-1 ,~o"uld hav·e-·s;:ilight fo _
                  know now and I knew the=n that one ca·nnot proceed judicially on the basis of
                  "memories" that have been repressed and them "remembe:red." When told of the
                  accusations, Martin denied that they were t:ru<=. There was then nothing more that
                  we could do. The youn9 ladies did not live in the territory and nothing more was
                  done on their beh.:1lf.

             _There·W?}s -serious discord c;:,n our body of E=lders .. Martin Svenson and Richard
              Ancl~r?on regarded the rest of th,= be5dy as the·ir en~mies and even going to listen t9
              those girls was re9ardecl by Ftic:~,3rd and Martin as a person.al_ effort to cause trouble
              for. Martin.· For those two, all decisions not in agreement with their views were             .
              regartjecl as persqnal -a-ffronts. "They clidri't SE!eni to regard di"fferences o-f opinion as ·.
          ··-,two. differen~ ways to see· a matter, but as~~ sho1,,v of disloyalty to them. Perh~ps ·
            • that had a negative affect on what we might have done to help those girls further.
                                                 .                                          .              .


               I understal]cl that what. make:-s our sh~phen:ling c;i:!!1 again relE!Vant is th~t Ma~in
               $vensoo gave a public talk at: a Billings congrngation and somE! of those. familiar
               with the ·accusations made! by these sist•=rs and others fan1ili1:u- with his seemingly

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                                                                                                               Exhibit 7



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   _u nloving discipline .while an e-lder we~re fe,:ling that the: organization condoned such
    be?~c1vior. (1.Ti_m. 3:7) While nothin9 judicial was ever done with Martin, he
  ·certainly is not irreprehensible-from tl"J•= vic~w point of pe:-ople in the Hardin and
    Billings area. He is a man apparently still foared and therefore hated beqrnse of his
   being righteous over much and self righteous, while? seem1ingly not holding himself
   and his family to the same standard to which he held others. It cannot be ..
   undeniably stated that he has not set himsc:lf up for the outcry ag21inst him.
   Y\fhether justified, or not, his reputation is marred. There are other brothers who
 . cc;m give.public talks without the same backlash and thE~ sheep deserve to hear a
   brother they can listen to without bE?in,;1 distracted by the reputatii:in of the one who
   is
    ..
       speaking.           .
                                       · .              . ..              .             ·

  Admitted my views on Martin Svenson arc~ thirteen years old, as I have not
  associated with him since my family and I fled the congregation and moved to
  Albuquerque. For what it is worth I was an elder for about fourteen years before I
  went to Hardin and h21ve been for almost 13 years since leaving Hardin (after
  several months of liyinfi down a letter, to my new congregation from Martin
  Svensen and Richard Anderson failing to re,:ommend me as an elder). In those 27
  or so years.as .an.elder they were the only_two elders with whom I could not come to
  a cordial working rela1:ic>nship. starting \IVith the first elders' meeting with them, it
  was from then on confrontational. Last wee~k's Watchtower study. (10/15/l0wt p. 19.}
  said that ~in ·having tender affection and sh,:,wing honor to one another elders
  should take the lead.' (Rom 12:10) For many, Martin S,(ens~n was not seen that
  way. Apparently he h21s not lived down that reputation .

  . I hope ,my me;,,ories will be of help to you brothers.(f_you neecj it. I have proba_b ly
 · sa_id more than I need to, but you brothers can pick out ·from this what is useful. I
    hope I can find my way to visit you brothf.?rs soon. May Je?hovah blc:ss you brothers
.. a~ Y9.~-~optin!,J~J9 be ~_
                            e.lf ~acrificin~, io serving his sheep.

  Your brother,

  Norman R. Kufner




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